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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

BRUCE R. MERRYMAN                                 §

VS.                                               §      CIVIL ACTION NO. 1:20-CV-392

LORIE DAVIS, ET AL.                               §

 MEMORANDUM ORDER OVERRULING PLAINTIFF’S OBJECTIONS AND ADOPTING
       THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Plaintiff Bruce R. Merryman, a prisoner confined at the LeBlanc Unit of the Texas

Department of Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil

rights action pursuant to 42 U.S.C. § 1983.

       The court ordered that this matter be referred to the Honorable Keith F. Giblin, United States

Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of

this court. The magistrate judge recommends denying plaintiff’s motion for default judgment.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. Plaintiff filed

objections to the Report and Recommendation.

       The court has conducted a de novo review of the objections in relation to the pleadings and

the applicable law. See FED. R. CIV. P. 72(b). After careful consideration of all the pleadings and

the relevant case law, the court concludes that plaintiff’s objections lack merit.

                                              ORDER

       Accordingly, plaintiff’s objections (document no. 9) are OVERRULED. The findings of

fact and the conclusions of law of the magistrate judge are correct, and the report and
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recommendation of the magistrate judge (document no. 6) are ADOPTED. Plaintiff’s motion for

default judgment (document no. 4) is DENIED.

    SIGNED this the 12 day of January, 2021.




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                                Thad Heartfield
                                United States District Judge




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